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6                                U NITED STATE S D ISTR ICT CO URT
7                                       D ISTR ICT O F NEV AD A

8 UNITED STATES OFAMERICA,                            )
                                                      )
9                          Plaintiff,                 )
                                                      )
10            v.                                      )           2:10-CR-261-LDG ILRQ
                                                      )
11 SCO'
      IT BRADYS                                       )
                                                      )
12                         Defendant.
13                                 FIN AL O RD ER O F FO RFEIT UR E
14            On January 18,2011,theUnited StatesDistrictCourtforthe DistrictofNevada entered a
                                                                                            I
15 Preliminac OrderofForfeitlzreplzrsuanttoFed.R.Crim.P.32.2(b)(1)and(2);andTite 18,United
16 StatesCode,Section924(d)(l)andTitle28,UnitedStatesCode,Section2461(c),based Ipontheplea
17    ofguiltyby defendantSCOTT BRADY to acrim inaloffense,forfeiting speciticproperty alleged in
18 the Superseding Crim inallnfonnation and agreed to in the Plea M emorandum mzd shown by the
19 United Statesto have a requisite nexusto the offense to which defendantSCOTT BKADY,pled
20    guilty.Docket//54,#56,#57.
21            This Court tinds the United States of A m erica published the notice of the forfeiture in
22    accordance with the 1aw via the ofticialgovernmentinternetforfeiture site,www.forfeiture.gov,
23    consecutively from January 28,2011,through Febnzary 26,20l1,notifying a11know n tltird padiesof
24    theirrightto petition the Court.#62.
25            This Courtfindsno petition w asfiled herein by oron behalfofany person orentity and the
                                                                                            1
26    tim efort'
               iling such petitionsand claim shasexpired.                                   !
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 1           'rhisCourttindsnopetitionsarependingwithregardtotheassetsnamedhereinandthetim e
 2   forpresenting such petitionshas expired.
 3           THEREFORE,IT IS HEREBY ORDERED,ADJUDGED,AND DECREED thata11right,
 4   title,and interestin the property hereinafterdescribed iscondemned,forfeited,and vested in the

 5 United SttesofAmericapursuantto Fed.R.Crim.P,32.2(b)(4)(A)and (B);Fed.R,Crim .P.
 6 32.2(c)(2);Title18,UnitedStatesCode,Section924(d)(1)andTitle28,UnitedStatesCode,Section
 7 2461(c);andTitle21,United StatesCode,Section853(n)(7)and shallbedisposedofaccordingto
 8   law :

 9                 (a)    aRavenArmsM odelM P-25,.25calibersemiautomaticpistol,bearingserial
10                        num ber712961;

11                 (b)    aSavage.410gaugeshotgtm,withno serialnumberand asawpdoff8inch
12                        barrel;and

13                 (c)    anyandallammunition.
14           IT IS FURTHER ORDERED,ADJUDGED ,AND DECREED thatany and a11forfeited
15 funds,including butnotlimited to,currency,currency equivalents,certiticatesofdeposit,aswellas
16   anyincom ederivedasaresultoftheUnited StatesofAmerica'sm anagem entofanypropertyforfeited
17 herein,andtheproceedsfrom thesaleofanyforfeitedpropertyshallbedisposedofaccordingtolaw.
18           TheClerk ishereby directed to send copiesofthisOrderto a11cotmselofrecörd and three
19 certified copiesto the United StatesAttorney'sOflice.                              '
20           DATEDthiswl%.F' dayof /F1                      ,2011. h
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